     Case 1:16-cr-20461-JEM Document 275 Entered on FLSD Docket 10/26/2017 Page 1 of 6

USDC FLSD 2458 ( Re
               ..E
                 EEElv.
                      09/08)-JudamentinaCriminalCase                                                ..   . .. .
                                                                                                                  Paae1of6
Date ofO riginalJudgm ent:6/14/2017
Reason forA mendm ent:
X        ReductionofSentenceforChangedCircumstances(Fed R.Crim.
                                                       .

         P.35(b))



                           U N IT E D ST A T E S D IST R IC T C O U R T
                                                  Southern D istrictofFlorida
                                                           M iam iD ivision
                                                                              A M EN D ED
         UN ITED STA TES O F A M E RICA                            JU D G M EN T IN A CR IM INA L C A SE
                               V.
                                                                   CaseNum ber:16-20461-CR-M ARTINEZ
    M ILD REY D E LA CA R ID A D G O N ZA LEZ                      U SM N um ber:09301-104

                                                                   CounselForDefendant:M arcSeitles
                                                                   CounselForTheU nited States:Lisa M iller
                                                                   CourtReporter:G lenda Pow ers
Thedefendantpleaded guiltytocountts)1and 2oftheSupersedingIndictment.
Thedefendantisadjudicated guiltyoftheseoffenses:
qTITLE& SECTION                     NATUREOFOFFENSE                                               OFFENSE          couxT
1                                                                                                 ENDED
ë18U.S.C.j 1349                     conspiracytocommithealthcarefraudandwirefraud 06/2016                             1
 18U.S.C.j 1347                     healthcarefraud                               06/2016                             2
Thedefendantissentencedasprovidedinthefollowingpagesofthisjudgment.Thesentenceisimposedpursuant
to the Sentencing Reform A ctof 1984.
U pon the m otion of the governm ent the rem aining counts ofthe Superseding Indictm entshallbe dism issed
as to this defendant.
ltisordered thatthe defendantm ustnotify the U nited States attorney forthis districtw ithin 30 daysofany change
of nam e,residence,orm ailing address untila1lfines,restitution,costs,and specialassessm ents im posed by this
judgmentarefullypaid.lforderedtopayrestitution,thedefendantmustnotifythecourtandUnitedStatesattorney
ofm aterialchanges in econom ic circum stances.




                                                                  Date oflm position ofSentence:6/14/2017


                                                                                       f

                                                                  Jose E .M arti z
                                                                  United States istrictJudge

                                                                  Date:         /& x       r
     Case 1:16-cr-20461-JEM Document 275 Entered on FLSD Docket 10/26/2017 Page 2 of 6

USDC FLSD 2458 (Rev,09/08)-JudamentinaCriminalCase                                                      Paae2of6
D EFEN DA NT :M ILD R EY DE LA C AR ID AD G O N ZA LEZ
CA SE N U M BER :16-20461-CR -M A R TIN EZ

                                                 IM PRISONM ENT
The defendantis hereby com m itted to the custody ofthe U nited States Bureau ofPrisons to be im prisoned for a
totaltenn of108 m onths asto CountsOneand Two to be served concurrently to each otherand to the sentence
imposed in docket16-20507-CR-M OORE.
T he court m akes the follow ing recom m endations to the Bureau of Prisons:The Courtrecom m ends thatthe
defendant be screened for residential drug and alcohol program ,that she should be placed, if possible at FPC
Alderson in W estVirginia and thatshe be confined atthe same BOP asherdaughter,M ilka Yarlin Alfaro in the
sam e case Reg.N o.09302-104 .
The Courtalso recom m endsthatthe defendantbe screened forany health problem s and please ensure thatshe is
sentto an appropriate m edicalfacility to be treated before she is sentto the prison thatshe's going to beresiding at.


The defendantis rem anded to the custody of the U nited States M arshal.

                                                           R ETU RN
Ihaveexecutedthisjudgmentasfollows:




D efendantdelivered on                                                  to

at                                                   ,withacertitiedcopy ofthisjudgment.




                                                              UN ITED STA TES M A R SH AL



                                                              D EPU TY U NITED STA TES M A RSHA L
    Case 1:16-cr-20461-JEM Document 275 Entered on FLSD Docket 10/26/2017 Page 3 of 6

USDC FLSD 2458 (Rev.09/08)-JudamentinaCriminalCase                                                         SUSSU
                                                                                                                   Page3of6
D EFEN D AN T:M ILD RE Y D E LA CA R ID A D G O N ZA LEZ
CA SE N U M BER :16-20461-C R -M A RT lN EZ

                                            SU PER V ISED R ELEA SE
Upon release from imprisonment,the defendantshallbe on supervised release fora term of3 years.Thistenn consistsof
threeyearsasto each ofCountsOne and Two,alIsuch termsto run concurrently.
The defendantmustreportto the probation office in thedistrictto which thedefendantisreleased within 72 hoursofrelease
from thecustody oftheBureau ofPrisons.
The defendantshallnotcom m itanotherfederal,stateorlocalcrim e.
The defendantshallnotunlawfully possessa controlled substance.The defendantshallrefrain from any unlawfuluse ofa
controlled substance.The defendantshallsubm itto onedrugtestwithin 15 daysofreleasefrom imprisonmentand atleasttwo
periodic drug teststhereafter,asdeterm ined by the court.
The defendantshallnotpossessa firearm ,am m unition,destructive device,orany other dangerousweapon.
The defendantshallcooperate in thecollection ofDNA asdirected by the probation officer.
lfthisjudgmentimposesafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpay inaccordancewith
theScheduleofPaymentssheetofthisjudgment.
The defendantmustcom ply with the standard conditionsthathave been adopted by thiscourtaswellaswith any additional
conditionson the attached page.
                                     ST AN D AR D CO ND ITIO N S O F SU PER V ISIO N
    1.Thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2.Thedefendantshallreportto theprobation officerand shallsubm itatruthfuland com pletewrittenrepol' twithin thefirstfiheen
      daysofeach m onth;
    3.Thedefendantshallanswertruthfullyallinquiriesbytheprobation officerandfollow theinstructionsoftheprobation ofticer;
    4.Thedefendantshallsupporthisorherdependentsand meetotherfam ilyresponsibilities;
    5.Thedefendantshallworkregularlyatalawfuloccupation,unlessexcused bytheprobation officerforschooling,training,orother
       acceptablereasons;
    6. Thedefendantshallnotifytheprobation officeratleastten dayspriorto anychange in residenceoremploym ent'  ,
    7. Thedefendantshallrefrain from excessiveuseofalcoholandshallnotpurchase,possess,use,distribute,oradministerany
       controlled substanceorany paraphernaliarelated toanycontrolled substances,exceptasprescribed by aphysician;
    8.Thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegally sold,used,distributed,oradm inistered;
    9.Thedefendantshallnotassociatewith anypersonsengaged incrim inalactivityand shallnotassociatewith anypersonconvictedof
       afelony,unlessgrantedpermissiontodosobythejrobationofficer;
    l0.Thedefendantshallperm itaprobation officertovislthim orheratany tim eathom eorelsewhereand shallperm itconfiscationof
       anycontrabandobserved inplain view oftheprobation officer;
    ll.
      'T'
        hedefendantshallnotifytheprobationofficerw ithinseventy-tw ohoursofbeing arrestedorquestionedbya 1aw enforcem ent
       officer;
    l2.
      Thedefendantshallnotenterinto any agreementtoactasan inform eroraspecialagentofa1aw enforcem entagency withoutthe
       perm ission ofthecourt;and
    l3.
      A sdirected by theprobation officer,thedefendantshallnotifythirdpartiesofrisksthatm aybeoccasionedbythedefendant's
       crim inalrecordorpersonalhistory orcharacteristicsand shallperm ittheprobationofficerto makesuch notificationsand to
       confinn the defendant'scom pliance w ith such notiscation requirement.
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USDC FLSD 2458 (Rev,09/08)-JudamentinaCriminalCase                                                Paae4of6
D EFEN D AN T:M ILD RE Y D E LA C AR IDA D G O N ZA LEZ
CA SE N U M BER :16-20461-CR -M A R TlN EZ

                                       SPE CIA L C O ND ITIO N S O F SU PER VISIO N

FinancialDisclosure R equirem ent-The defendantshallprovide com plete access to financialinform ation,
including disclosure ofallbusiness and personalfinances,to the U .S.Probation O fticer.

H eaIth C are Business Restriction -Thedefendantshallnotown,directly orindirectly,orbe em ployed,directly or
indirectly,in any health care business orservice,w hich subm itsclaim s to any private orgovelmm entinsurance
com pany,withoutthe Court'sapproval.

N o N ew D ebtRestriction -The defendantshallnotapply for,solicitor incur any furtherdebt,included butnot
lim ited to loans,linesofcreditor creditcard charges,eitherasa principalorcosigner,as an individualorthrough
any corporate entity,w ithoutfirstobtaining perm ission from the U nited States Probation Officer.

Perm issible Search -The defendantshallsubm itto a search ofhis/herperson orproperty conducted in a
reasonable m alm erand ata reasonable tim e by the U .S.Probation Officer.

Self-Em ploym entR estriction -The defendantshallobtain priorwritten approvalfrom the C ourtbefore entering
into any self-em ploym ent.

SubstanceAbuseTreatm ent-Thedefendantshallparticipate in an approved treatmentprogram fordnzgand/or
alcoholabuse and abide by allsupplem entalconditionsoftreatm ent.Participation m ay include inpatient/outpatient
treatment.Thedefendantwillcontributetothecostsofservicesrendered(co-payment)basedonabilitytopayor
availability ofthird party paym ent.

U npaid R estitution,Fines,or SpecialA ssessm ents-lfthe defendanthasany unpaid am ountofrestitution,tines,
orspecialassessm ents,the defendantshallnotify the probation officerofany m aterialchange in the defendant's
econom ic circum stancesthatm ightaffectthe defendant'sability to pay.
    Case 1:16-cr-20461-JEM Document 275 Entered on FLSD Docket 10/26/2017 Page 5 of 6

USDC FLSD 2458 (Rev.09/08)-JudrnentinaCriminalCase                                                       Paae5of6
DEFEN D AN T:M ILDR EY D E LA CA RID AD G O N ZAL EZ
CA SE N U M BER :16-20461-C R -M A RTlN EZ

                                 C R IM IN A L M O N ETA R Y PENA LTIE S
The defendantm ustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaym ents on Sheet6.
                                              A ssessm ent              Fine               Restitution
          TOTA LS                                $200.00                $0.00            $22,906,267.41
If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned
paym ent,unless specified otherw ise in the priority order or percentage paym ent colum n below .H ow ever,
pursuantto 18U.S.C.j366441),alInonfederalvictimsmustbepaid beforetheUnitedStatesispaid.
1NAMEOFPAYEE                                                   TOT AL
                                                               LO SSw
                                                                        jRE STITUTION
                                                                         O R D ER ED
                                                                                              PRIORITYOR   -
                                                                                              PER C EN TA G E
Centers forM edicare and M edicaid Services                t$%00
                                                           .            $22,906,26.741
Restitutionwithlmprisonment-ltisfurtherorderedthatthedefendantshallpayjointandseveralrestitutionwith
her codefendants Adriana D e La Caridad Jalil,Luis Enrique Luzardo and M ilka Y arlin A lfaro as well as their
co-conspirators in docket num bers 16-20444-CR-Lenard, 16-20445-CR-M artinez, 16-20447-CR-U ngaro,
16-20449-CR-M iddlebrooks,and 16-20492-CR-W ii1iam sin the am ountof$22,906,267.41.During theperiod of
incarceration,paymentshallbemadeasfollows:(1)ifthe defendantearnswagesina FederalPrison Industries
IUNICORIjob,thenthedefendantmustpay50% ofwagesearnedtowardthefinancialobligationsimposedbythis
JudgmentinaCriminalCase;(2)ifthedefendantdoesnotworkin aUNICORjob,thenthedefendantmustpaya
m inimum of$25.00 perquartertoward thefinancialobligationsim posed in thisorder.
Upon release ofincarceration,the defendantshallpay restitution atthe rate of 10% ofm onthly grossearnings,until
suchtimeasthecourtmayalterthatpaymentscheduleintheinterestsofjustice.TheU.S.BureauofPrisons,U.S.
Probation O ffice and U .S.Attorney's O ffice shallm onitor the paym entof restitution and reportto the courtany
m aterialchange in the defendant'sability to pay.Thesepaym entsdo notprecludethe govenlm ent,subsequently the
U .S.Probation O ffice from using any other anticipated or unexpected financialgains,assets or incom e of the
defendant to satisfy the restitution obligations. The restitution shall be m ade payable to Clerk,United States
Courtsand forw arded to the address below .
The restitution w illbe forw arded by the Clerk ofthe Courtto the victim on the attached list.
 from using otherassets orincom e ofthe defendantto satisfy the restitution obligations.
# Findings for the totalam ountof losses are required underChapters 109A ,110, 1IOA ,and 113A of Title 18 for
offenses com m itted on orafterSeptem ber 13,1994,butbefore A pril23,1996.
**A ssessm entdue im m ediately unless othenvise ordered by the Court.
             Case 1:16-cr-20461-JEM Document 275 Entered on FLSD Docket 10/26/2017 Page 6 of 6

USDC FLSD 2458(Rev,09/08)-JudamentinaCrimi
                                         nalCase                                                                                        Pajw 6of6
D EFEN D AN T:M ILD REY D E LA CA R ID A D G O N ZA LEZ
CA SE N U M BER :16-20461-C R -M A RTlN EZ

                                      SCH E DU LE O F PA YM EN TS
Having assessedthedefendant'sability topay,paym entofthetotalcrim inalm onetary penaltiesisdueasfollows:
A.Lum p sum paym entof$200.00 dueim m ediately.
Unlessthecourthasexpressly ordered othenvise,ifthisjudgmentimposesimprisonment,paymentofcriminal
m onetary penalties is due during im prisonm ent.All crim inalm onetary penalties,except those paym ents m ade
thzough theFederalBureau ofPrisons'Inm ate FinancialResponsibility Program ,are m ade to the clerk ofthe court.
The defendant shallreceive credit for allpaym ents previously m ade toward any crim inal monetary penalties
im posed.
Thisassessment/fine/restitution ispayableto the CLERK,UN ITED STATES COURTS and isto beaddressed to:
U.S.CLER K 'S O FFIC E
A TTN :FIN A N CIA L SE CTIO N
400 N O R TH M IA M I A V EN U E,R O O M 08N 09
M IA M I,FL O RID A 33128-7716
The assessm ent/fine/restitution ispayable im m ediately.The U .S.Bureau ofPrisons,U .S.Probation Officeand the
U .S.Attorney's O ffice are responsible forthe enforcem entofthis order.
Jointand Several
Defendantand Co-DefendantNamesandCaseNumbers(including defendantnumber),TotalAmount,Jointand
SeveralAmount,and corresponding payee,ifappropriate.
ZASENUMBER
1                                                        -                                                               JOINTAND SEVEM L
lDEFEN D AN T A ND C O -D EFEN D A NT N A M ES                                                TO TA L A M O UN T A M O U N T
jIINCLUDING DEFENDANTNUMBER)
l16-20461-CR-M ARTm EZ-AdrianaDeLaCaridadJalil                                                $0.00                      $22,906,267.41
t16-20461-CR-MARTlNEZ-LuisEnriqueLuzardo
..
 ---------.----------   -------.-...-   -.---.--   -..
                                                   .         -----.---------.--------.        $0.00              -----   $22,906,267.41
l16-20461-CR-M ARTlNEZ-M ilkaYarlinAlfaro                                                 $0.00                          $22,906,267.41
j               -.-                ---                                                   ---               .-.
                                                                                                             -
i16-20444-CR-LENARD-RamonDavidColladoGonzalez l$%00                                            . .                       $22,906,267.41
ll6-20445-cR-MARTm Ez-LindaMarquez             $0.00                                                                     $22,906,2670.41
                                                                                                                                    .  ..
716 20447-cR-uxGARo-Jui
                      -
                      t7 q vel
                             asu ez
t
         -
                                              t%
                                               .
                                               -.oo                                      ..                              $22,906,267.41
l16-20449-CR-MIDDLEBROOKS-MO eeGonzalez                                                       1$0.00                     $22,906,267.41
L16 2o492-cR-w ILLIA M s-Juan castilloM ayedo
         -
                                                           )$0.00                $22,906,267.41
y                                                                                        ..


The defendant's right, title and interest to the property identified in the prelim inary order of forfeiture
which hasbeen entered by theCourton M arch 8,2017 (D.E.210)isincorporated into thisJudgmentand
C om m itm ent.
Restitution isowedjointly and severally by thedefendantand co-defendantsin theabovecase.
Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)
fineprincipal,(5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecution
and courtcosts.
